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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


 ACL1 INVESTMENTS LTD., et al.,

                  Plaintiffs,                        Misc. No. 21-46-LPS

          v.

 BOLIVARIAN REPUBLIC OF VENEZUELA,

                  Defendant.


 CRYSTALLEX INTERNATIONAL CORP.,

                  Plaintiff,                         Misc. No. 17-151-LPS

          v.

 BOLIVARIAN REPUBLIC OF VENEZUELA,

                  Defendant.



   ANSWERING BRIEF OF ACL1 INVESTMENTS LTD., ACL2 INVESTMENTS LTD.,
   AND LDO (CAYMAN) XVIII LTD. PURSUANT TO MAY 10 SCHEDULING ORDER


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 Dated: June 7, 2023




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                           NATURE AND STAGE OF PROCEEDINGS

          On May 10, 2023, the Court entered an order in these related actions inviting the parties’

 views on three issues. (Misc. No. 17-151 D.I. 559) Pursuant to that order, on May 24, 2023, the

 plaintiffs in Misc. No. 21-46 (ACL1 Investments Ltd., ACL2 Investments Ltd., and LDO (Cay-

 man) XVIII Ltd.; together, “ACL”) filed a letter endorsing the positions advanced by Northrop

 Grumman Ship Systems, Inc., now known as Huntington Ingalls Inc. (Misc. No. 21-46 D.I. 72) To

 summarize, the three issues, and ACL’s positions on each, are as follows:

     1. Which, if any, judgments should be regarded as “Additional Judgments” under the Sale
        Procedures Order entered in the Crystallex Action? — The Court should regard as “Addi-
        tional Judgments” valid judgments held by creditors, such as ACL, that have been granted
        final or conditional writs of attachment against PDVSA’s shares of PDVH.

     2. Should the Court issue full, unconditional orders of attachment (including by converting
        conditional grants) to any creditors? If yes, should the Court direct service of any such
        orders of attachment? — Upon termination of the Third Circuit’s stay, the Court should
        issue unconditional orders of attachment to all creditors with “Additional Judgments.” The
        Court should direct service in order of the priority of judgments.

     3. How should the Court determine the priority of any judgments that are made Additional
        Judgments? — The Court should determine priority in accordance with the order in which
        creditors filed their respective motions for writs of attachment.

 ACL’s letter reserved ACL’s rights to submit an answering brief, a reply brief, or both.

          ACL now respectfully submits this answering brief to address certain arguments in the

 briefs filed on May 24 by the Venezuela parties (Misc. No. 17-151 D.I. 571, “Venezuela Br.”), the

 ConocoPhillips parties (Misc. No. 17-151 D.I. 574, “ConocoPhillips Br.”), Rusoro Mining Limited

 (Misc. No. 21-481 D.I. 60, “Rusoro Br.”), Gold Reserve Inc. (Misc. No. 17-151 D.I. 572, “Gold

 Reserve Br.”), Siemens Energy, Inc. (Misc. No. 17-151 D.I. 569, “SEI Br.”), the Tidewater parties

 (Misc. No. 19-79 D.I. 35, “Tidewater Br.”), Banco San Juan Internacional (Misc. No. 17-151 D.I.

 575, “BSJI Br.”), Valores Mundiales, S.L. and Consorcio Andino, S.L. (Misc. No. 17-151 D.I. 576,

 “Valores Br.”), and Refineria Di Korsou N.V. (Misc. No. 17-151 D.I. 564, “RDK Br.”).



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                                   SUMMARY OF ARGUMENT

          1.      Neither the pendency of appeals before the U.S. Court of Appeals for the Third

 Circuit nor that court’s temporary stay of ACL’s case and related cases in this Court should affect

 this Court’s determination of which judgments to regard as “Additional Judgments,” as explained

 by OI European Group B.V. (“OIEG”) in its answering brief filed contemporaneously herewith.

          2.      Judgments in favor of creditors without any order of attachment from this Court

 (conditional or otherwise) should not be regarded as “Additional Judgments.” There may be valid

 arguments against execution based on those judgments, as illustrated in the cases of some creditors

 seeking to have their judgments added. Moreover, allowing creditors without orders of attachment

 from this Court to have their judgments regarded as “Additional Judgments” could make the sale

 process unmanageable.

          3.      Priority should be determined by the order in which creditors filed their motions

 for writs of attachment. This approach to priority is consistent with two principles on which the

 parties broadly agree, namely, that priority should not be established by a “race to the courthouse”

 and that the order of priority should honor Delaware’s policy of first in time, first in right. Other

 proposed approaches to priority are less consistent with these principles. In particular, determining

 priority by the dates on which creditors received their conditional writs of attachment affords

 undue influence to the presence of OFAC’s sanctions.

          4.      The writ of attachment issued to Refineria Di Korsou N.V. (“RDK”) in the Superior

 Court of Delaware is facially invalid. Therefore, the RDK judgment should be neither regarded as

 an “Additional Judgment” nor given priority.




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                                           ARGUMENT

 I.       ACL’S JUDGMENT SHOULD BE REGARDED AS AN “ADDITIONAL
          JUDGMENT” NOTWITHSTANDING THE THIRD CIRCUIT APPEAL AND
          TEMPORARY STAY

          ACL’s case and five others have been temporarily stayed by the U.S. Court of Appeals for

 the Third Circuit. (Memorandum Order, Misc. No. 17-151 D.I. 559, ¶ 2) Due to that stay and the

 related appeals, certain parties argue that the judgments subject to the appeal should not be regard-

 ed as “Additional Judgments.” E.g., Venezuela Br. 14-15; SEI Br. 8. That argument is not persua-

 sive for the reasons given by OIEG in its answering brief filed contemporaneously herewith. ACL

 adopts and endorses the argument of OIEG with respect to the bearing of the pending appeals and

 the temporary stay on which judgments should be regarded as “Additional Judgments.”

 II.      CREDITORS WITHOUT VALID ORDERS OF ATTACHMENT SHOULD NOT
          HAVE THEIR JUDGMENTS REGARDED AS “ADDITIONAL JUDGMENTS”

          Certain creditors without any order of attachment from this Court (conditional or other-

 wise) have requested that their judgments be regarded as “Additional Judgments.” E.g., BSJI Br.

 2. Granting those requests would be inadvisable for at least two reasons. First, there may be valid

 arguments against execution based on those judgments. For example, one creditor has no U.S.

 judgment; it is seeking recognition of English judgments. BSJI Br. 1. Another creditor appears not

 to have satisfied the procedural requirements for execution. Infra pp. 6-8. Second, were the Court

 to grant the pending requests from creditors without valid orders of attachment, there would be

 little reason not to grant other, similar requests in the future. And granting similar requests could

 make the sale process unmanageable, as PDVSA and the Republic have numerous judgment

 creditors that are not yet before this Court. E.g., Pharo Gaia Fund, Ltd. v. Bolivarian Republic of

 Venezuela, No. 19-cv-3123 (S.D.N.Y.) (judgment entered Oct. 16, 2020); Chickpen, S.A. v.

 Bolivarian Republic of Venezuela, No. 21-cv-597 (S.D.N.Y.) (judgment entered June 13, 2022).


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 III.     PRIORITY SHOULD BE DETERMINED BY THE ORDER IN WHICH
          CREDITORS FILED THEIR MOTIONS FOR WRITS OF ATTACHMENT

          With respect to priority, the parties broadly agree on two principles. The first principle is

 that priority need not and should not be established by a “race to the courthouse.” E.g., Rusoro Br.

 7 (“[P]ermitting each remaining judgment creditor simply to serve its writ . . . will likely set off a

 frenzied race to the U.S. Marshal’s office.”). Rather, the Court should issue orders of attachment

 in a way that establishes an orderly approach to priority. The second principle is that the orderly

 approach should honor Delaware’s policy of first in time, first in right. E.g., ConocoPhillips Br. 9

 (“The Court’s Equitable Discretion Should be Exercised to Vindicate Delaware’s Statutory First-

 in-Time Policy.”).

          These two principles favor ordering attachment by the dates on which creditors filed their

 respective motions for writs of attachment. Consistent with the first principle, prioritizing judg-

 ments in the order that motions were filed would give no effect to the speed of issuance and service.

 Consistent with the second principle, prioritizing judgments in this way would reward creditors

 for their diligence. Creditors demonstrated their “diligence as against other creditors” (see Stockley

 v. Horsey, 9 Del. (4 Houst.) 603, 608 (Del. 1874)) by filing their motions earlier. Furthermore,

 prioritizing judgments in this way would approximate the priority that would have obtained under

 ordinary circumstances. Comparable motions typically require comparable time to adjudicate, so

 that the order of issuance and service typically would follow from the order of the motions.

          It would be less faithful to Delaware’s first-in-time policy to determine priority by the dates

 on which creditors received their conditional writs of attachment. Supporters of that approach

 recognize that priority should follow “the order [writs] would have been issued but for the OFAC

 sanctions.” ConocoPhillips Br. 10; accord SEI Br. 13 (“should determine priority in a manner that

 best approximates what would have happened but for the [sanctions]”); Rusoro Br. 8 (“but for the


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 OFAC sanctions, each of the creditors . . . would likely have been issued an unconditional writ”).

 However, the order of the conditional writs was affected by the OFAC sanctions. The Court

 “declin[ed] to” reach its alter-ego holding earlier than it did “because it ha[d] concluded that it

 should first” definitively resolve the sanctions issue. OI Eur. Grp. B.V. v. Bolivarian Republic of

 Venezuela, 2022 WL 611563, at *11 n.20 (D. Del. Mar. 2, 2022). Therefore, it appears likely that,

 but for the OFAC sanctions, the order of the conditional writs of attachment would have been

 different. In particular, but for the OFAC sanctions, creditors that had sought an alter-ego finding

 before the Court rendered its opinion of March 2, 2022 (i.e., OIEG, Huntington Ingalls, ACL, and

 Rusoro) likely would have received conditional writs of attachment earlier than they did.

          Three other approaches to priority were advocated by one creditor each. None is more

 consistent with the two principles explained above (p. 4) than the order-of-motions approach is.

          The first proposed approach is for all creditors that received conditional writs of attachment

 before May 4, 2023, to “be placed in a position of equal priority.” Gold Reserve Br. 5. This

 approach strays from Delaware’s first-in-time policy. It would treat as equal creditors that sought

 attachments more than three years apart, with later creditors benefitting from decisions in favor of

 earlier creditors. Moreover, it would create a discontinuity—creditors that received writs just

 before May 4 would do far, far better than creditors that received writs just after May 4—due only

 to when OFAC granted a license to the Clerk of this Court. According such significance to the

 timing of OFAC’s license is justified neither by policy nor by equity.

          The second proposed approach is to order priority “according to the date [each] creditor

 registered its judgment with the Court.” Tidewater Br. 3. Registration is flawed as a measure of a

 creditor’s diligence. “Registration is a ‘ministerial act’ in terms of the actual mechanical process




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 of registering.” 11 Charles Alan Wright et al., Federal Practice and Procedure § 2787, Westlaw

 (database updated Apr. 2023) (footnote omitted).

          The third proposed approach is for “judgments directly against PDVSA [to] be prioritized

 over judgments against Venezuela which rely on the alter ego theory.” BSJI Br. 2. Among other

 problems, this approach would result in Crystallex, which relies on the alter ego theory, losing its

 top priority.

 IV.      RDK’S ATTACHMENT IS FACIALLY INVALID AND SHOULD BE NEITHER
          REGARDED AS AN “ADDITIONAL JUDGMENT” NOR GIVEN PRIORITY

          RDK argues that its judgment should be regarded as an “Additional Judgment” and that

 priority should be determined by Delaware law. RDK Br. 2. RDK’s writ of attachment was issued

 pursuant to RDK’s Praecipe filed in the Superior Court of Delaware on May 4, 2023, and served

 upon PDVH by the Sheriff of New Castle County on May 10, 2023. RDK Br. 5-6. However, RDK’s

 attachment is facially invalid for at least two reasons. First, it was issued without judicial autho-

 rization, which is required by the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1602-

 1611. Second, it appears to contravene the sanctions regime of OFAC. Because RDK lacks a valid

 attachment, RDK’s judgment should be neither regarded as an “Additional Judgment” nor given

 priority.

          A writ of attachment cannot be issued absent judicial authorization if the FSIA would

 otherwise prohibit it. Under the FSIA, property of a sovereign instrumentality is immune from

 attachment unless an exception in 28 U.S.C. § 1610(a) or (b) is met. Attachment under the excep-

 tions of section 1610 is conditioned on “the court [] order[ing] such attachment and execution after

 having determined that a reasonable period of time has elapsed following the entry of judgment

 and the giving of any notice required under section 1608(e).” 28 U.S.C. § 1610(c).




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          “[Section] 1610(c) not only ensures that no execution upon sovereign property can take

 place without notice to the sovereign, but it also requires a prior judicial determination that the

 execution is warranted under one of the § 1610(a) or (b) exceptions and with respect to specifically

 identified property.” Walters v. Indus. & Com. Bank of China, Ltd., 651 F.3d 280, 291 (2d Cir.

 2011) (emphasis added). These FSIA requirements apply in state courts as in federal courts. 28

 U.S.C. § 1602. And, as this Court has acknowledged, these steps are required to attach PDVSA

 assets. Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, 333 F. Supp. 3d 380, 390 n.7 (D.

 Del. 2018).

          RDK’s writ appears to have been issued by the Superior Court of Delaware without either

 of these two required steps having been accomplished. There is no record of a court’s

 determination that the FSIA exceptions are applicable and that an attachment is appropriate.

          Additionally, the OFAC sanctions regime appears to invalidate RDK’s attachment, even if

 it was validly issued. The OFAC regulations block transfers of property of PDVSA and PDVH,

 including through garnishment and execution, “unless authorized pursuant to a specific license

 issued by OFAC.” 31 C.F.R. § 591.407. OFAC has issued a specific license to the Clerk of this

 Court, but (to ACL’s knowledge) OFAC has not issued such a license to the Prothonotary of the

 Superior Court or to RDK. The OFAC regulations therefore appear to invalidate any attachment

 effected by service of RDK’s writ. See 31 C.F.R. § 591.202(a) (“Any transfer . . . that is in violation

 of any provision of this part . . . is null and void.”). PDVH has brought this issue to the attention

 of RDK’s counsel through a letter filed in the Superior Court case (and attached hereto as Exhibit

 A) requesting that RDK withdraw its writ. Because RDK has no valid attachment, RDK cannot be

 given any priority for payment from the sale of PDVH shares.




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          RDK presumably argues for priority according to Delaware’s first-in-time principle

 because RDK presumes that it has an effective attachment, but no such attachment exists, so RDK

 does not have priority over other creditors.

                                          CONCLUSION

          For the foregoing reasons, (a) ACL’s judgment should be regarded as an “Additional Judg-

 ment” under the Sale Procedures Order in the Crystallex action; (b) upon termination of the Third

 Circuit’s stay, the Court should issue unconditional orders of attachment to all creditors with

 “Additional Judgments” and direct service in order of the priority of judgments; and (c) priority

 should be determined in accordance with the order in which creditors filed their respective motions

 for writs of attachment.

 Dated: June 7, 2023                              Respectfully submitted.

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